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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division

  SIMON TUSHA,

                  Plaintiff,

  v.                                                     No.: 3:20-cv-00614-DJN

  EDGE MISSION CRITICAL SYSTEMS, LLC,
  and DIVERSITEC, LLC,

                  Defendants.

  __________________________________________

  EDGE MISSION CRITICAL SYSTEMS, LLC,

                 Counterclaim-Plaintiff,

  v.

  SIMON TUSHA,

                 Counterclaim-Defendant.


                                 JOINT STIPULATION OF DISMISSAL

       Plaintiff/Counterclaim-Defendant Simon Tusha, Defendant/Counterclaim-Plaintiff Edge

Mission Critical Systems, LLC and Defendant Diversitec, LLC, by counsel and pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), hereby agree to dismiss this action with prejudice, with

each party bearing its own attorneys’ fees and costs.

       Respectfully submitted this the 18th day of March, 2021.



                               [SIGNATURES ON FOLLOWING PAGE]
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SIMON TUSHA,                     EDGE MISSION CRITICAL SYSTEMS, LLC,
                                 DIVERSITEC, LLC,

By counsel:                      By counsel:



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of March, 2021, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System, which will provide notice to all counsel of

record, and that I caused a copy of the foregoing, as well as a notification of such filing (NEF), to

be mailed via first-class mail, postage prepaid, to:

       Simon Tusha
       1060 Hidden Moss Drive
       Cockeysville, MD 21030

       Pro Se Plaintiff

                                                   /s/ John J. Woolard
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